On May 22, 1989, appellee, Robert B. Will, pleaded guilty to one count of attempted rape, in violation of R.C. 2923.02. He was subsequently sentenced by the Lake County Court of Common Pleas to serve an indefinite term of incarceration of three to fifteen years. In April of 1997, the Department of Corrections recommended that appellee be adjudicated a sexual predator under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds.
                                        --------------------- JUDGE ROBERT A. NADER
FORD, P. J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.